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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

ROBERT ORTELL,

                    Plaintiff,

v.                                                  Case No: 6:19-cv-17-Orl-40KRS

CITIBANK, N.A.,

                    Defendant.


                                       ORDER
       This cause comes before the Court on review of Plaintiff’s Notice of Voluntary

Dismissal without Prejudice (Doc. 11) filed February 15, 2019.      The notice is self-

executing pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). See Matthews v.

Gaither, 902 F.2d 877, 880 (11th Circ. 1990) (per curiam). The Clerk is DIRECTED to

close the file.

       DATED in Orlando, Florida, this 20th day of February 2019.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
